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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
v.                                            )        Criminal No.04-10104-02
                                              )        Civil No. 07-1281-MLB
LARRY J. JOHNSON,                             )
                                              )
                          Defendant.          )
                                              )
                              MEMORANDUM AND ORDER
         Before the court is defendant’s motion pursuant to 28 U.S.C. §
2255 (Doc. 148).        The motion is denied for the following reasons.
         The   Order    and   Judgment   affirming         defendant’s        convictions
adequately sets forth the underlying facts.                   United States v. Larry
“Mississippi” Johnson, Circuit Case No. 05-3023 filed June 22, 2006
(Doc. 147).        Defendant did not appeal his sentences, which were
imposed as follows:
         Count 1          Conspiracy to distribute cocaine base after prior
                          conviction of a drug felony in violation of 21
                          U.S.C. § 846: 20 years (mandatory minimum).
         Count 2          Distribution        of       cocaine       base     after prior
                          conviction of a drug felony in violation of 21
                          U.S.C.   §   841:       20    years       (10   year      mandatory
                          minimum).
         Count 3          Distribution        of       cocaine       base     after prior
                          conviction of a drug felony in violation of 21
                          U.S.C.   §   841:       20    years       (10   year      mandatory
                          minimum).
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      Count 4          Distribution         of      cocaine        base        after prior
                       conviction of a drug felony in violation of 21
                       U.S.C.    §   841:    20      years        (10    year     mandatory
                       minimum).
      Count 5          Distribution         of      cocaine        base        after prior
                       conviction of a drug felony in violation of 21
                       U.S.C.    §   841:    20      years        (20    year     mandatory
                       minimum).
      Count 6         Possession of a firearm in furtherance of a drug
                       trafficking offense in violation of 18 U.S.C. §
                       924(c)(1):    5   years        consecutive         to    all   other
                       counts.
      Count 7         Possession of a firearm by a prohibited person in
                       violation of 18 U.S.C. § 922(g): 10 years.
The sentences for Counts 1, 2, 3, 4, 5 and 7 were ordered to run
concurrently with 20 years as the controlling sentence.                     The sentence
for Count 6 was ordered to run consecutive to the other counts, as
required by statute, for a total sentence of 25 years.                     Defendant did
not object to any aspect of the sentence calculation (see transcript
of sentencing, Doc. 107, attached as Exhibit A).                        On the contrary,
defendant requested the mandatory minimum sentence of 25 years, which
is the sentence imposed by the court.
      Defendant raises three claims in support of his motion, which
are quoted verbatim:
      Ground one: Ineffective counsel
          Counsel for the defendant failed to investigate pending
          United States Supreme Court ruling that would have affected

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             defendants sentence, in light of (Booker).
         Ground two:      Counsel for the defendant was ineffective for
         failing to object to the court using the guidelines in a
         mandatory fashion.
             The   District        Court   sentenced    the     defendant       using      the
             guidelines as mandatory in light of pending United States
             Supreme    Court         ruling,     striking      down     the       mandatory
             application of the guidelines.                The defendants sentence
             thus was unreasonable.
         Ground three: the District Court denide [sic] the defendant
         (due process).
             The United States District court denide [sic] the defendant
             due   process     by      failing    to   cite    any     reason      for    it’s
             imposition       of    the    sentence    that    it    imposed       upon    the
             defendant as is afforded all defendants under 18 U.S.C.
             3553.
Defendant has not cited supporting authority or argument for any of
his claims.
         United States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L.
Ed. 2d 621 was decided on January 12, 2005.                   Defendant was sentenced
on     January 10, 2005, two days before Booker was handed down.
Defendant’s claim that his counsel failed to investigate “pending”
Booker is conclusory and meritless. Counsel cannot be ineffective for
failing to raise Booker issues before the case was decided, especially
since it has required countless subsequent decisions to interpret
Booker.     Defendant’s second argument fails because the court did not
impose     guideline sentences; it imposed statutory mandatory minimum

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20 year sentences on counts 1 and 5.              There was and is no way to
utilize   the   guidelines     to   calculate     or    manipulate     defendant’s
sentences to achieve an outcome of less than 25 years.               In this case,
the guidelines were superfluous.             Defendant’s third ground fails
because 18 U.S.C. § 3553(a) does not apply to mandatory sentences.
United States v.    Huskey, ____ F.3d ___ (10th Cir. Sept. 18, 2007).
      The court finds that the motions and the files and records of
the case conclusively show that defendant is not entitled to relief
and accordingly, his motion pursuant to 28 U.S.C. § 2255 is denied.
      IT IS SO ORDERED.
      Dated this    21st       day of September 2007, at Wichita, Kansas.


                                            s/Monti Belot
                                            Monti L. Belot
                                            UNITED STATES DISTRICT JUDGE




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